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                            EXHIBIT 74




                                                                  Appx. 02199
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                                            CAUSE NO. DC-23-01004

                                                          §
     IN RBI                                               6           IN THE   DISTRICT COURT
                                                          §
     HUNTER MOUNTAIN INVESTMENT TRUST,                                DALLAS COUNTY, TEXAS
                                                          §
              Petitioner '
                                                          §           191 ST JUDICIAL DISTRICT
                                                          §

                                                    ORDER
              Came on for consideration Petitioner Hunter Mountain Investment Trust ’s Verified Rule

     202 Petition                  ﬁled by petitioner Hunter Mountain Investment Trust      (“M”).       The

     Court, having considered the Petition, the joint veriﬁed response in opposition ﬁled by

     respondents     Farallon    Capital   Management,        L.L.C. (“FLallog”)    and   Stonehill   Capital

     Management       LLC (“Stonehill”), HMIT’s         reply, the evidence admitted during the hearing

     conducted on February 22, 2023, the argument of counsel during that hearing, Farallon’s and

     Stonehill’s post-hearing brief, the record, and applicable authorities, concludes that HMIT’s

     Petition should be denied and that this case should be dismissed. Therefore,

              The Court ORDERS that HMIT's Petition be, and is hereby, DENIED, and that this case

     be, and is hereby,      DISMISSED.

              THE COURT O ORDERS.

              Signed this         day of March, 2023.




                                                                HON            EN    AUGHTER




                                                                                                 Appx. 02200
